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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :       Case No.: 1:21-CR-00117 (RCL)
               v.                            :
                                             :
RYAN TAYLOR NICHOLS &                        :
ALEX KIRK HARKRIDER,                         :
                                             :
                      Defendants.            :


                                 NOTICE OF APPEARANCE

       The United States of America, through undersigned counsel, hereby informs the Court that

Assistant United States Attorney Sean P. McCauley is entering his appearance in the above-

captioned matter as counsel for the United States.

                                                     Respectfully submitted,

DATED: February 22, 2023                             MATTHEW M. GRAVES
                                                     United States Attorney
                                                     D.C. Bar No. 481052

                                             By:     /s/ Sean P. McCauley
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